Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 1 of 16




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                                                         Nov 17, 2023

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Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 2 of 16




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Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 3 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 4 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 5 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 6 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 7 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 8 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 9 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 10 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 11 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 12 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 13 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 14 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 15 of 16
Case 9:23-mj-08582-WM Document 1 Entered on FLSD Docket 11/17/2023 Page 16 of 16
